         Case 1:25-cv-02620-BMC                       Document 4          Filed 05/09/25     Page 1 of 3 PageID #: 26

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Eastern District
                                                    __________         of of
                                                                District  New  York
                                                                             __________

                MARINA KONDRATSKAIA                                   )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 1:25-cv-01883 BMC
                                                                      )
EQUITAS CAPITAL GROUP, LLC and ALEKSANDR                              )
        LEYKIND a/k/a ALEX LEYKIND                                    )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) EQUITAS CAPITAL GROUP, LLC 3121 Ocean Ave,
                                           Suite #504, Brooklyn, NY, 11235


                                           (Please see attached rider for additional addressees)



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: John J. Thompson, Esq.
                                           Mastewal Taddese Terefe, Esq.
                                           515 Madison Avenue, 31st Fl.
                                           New York, NY 10022
                                           (646) 568-4280


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                BRENNA B. MAHONEY
                                                                                CLERK OF COURT


            5/9/2025                                                               s/Kimberly Davis
Date:
                                                                                           Signature of Clerk or Deputy Clerk
          Case 1:25-cv-02620-BMC                         Document 4       Filed 05/09/25        Page 2 of 3 PageID #: 27

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 Civil Action No. 1:25-cv-01883

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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      AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                                         for the
                                                              Eastern District of New York


      MARINA KONDRATSKAIA,                                                         Civil Action No. 1:25-cv-02620

                                               Plaintiff,

                v.

      EQUITAS CAPITAL GROUP, LLC and
      ALEKSANDR LEYKIND a/k/a ALEX LEYKIND,

                                               Defendants.



                                                      RIDER TO PROPOSED SUMMONS

To:

           1. EQUITAS CAPITAL GROUP, LLC
              3121 Ocean Ave, Suite #504
              Brooklyn, NY, 11235

           2. ALEKSANDR LEYKIND a/k/a ALEX LEYKIND
              3121 Ocean Ave, Suite #504,
                Brooklyn, NY, 11235



                                                                                             CLERK OF THE COURT




           Date:
